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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address
 Bradley E. Brook, Esq. #125323
 Law Offices of Bradley E. Brook, APC
 10866 Washington Blvd. #108
 Culver City, CA 90232
 T: 310-839-2004
 F: 310-945-0022
 E: bbrook@bbrooklaw.com




      Attorney for: David K. Gottlieb, Chapter 7 Trustee

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION
                                                                              DIVISION

 In re:                                                                       CASE NO.: 1:18-bk-10098-MB
 PENTHOUSE GLOBAL MEDIA, et. al.                                              CHAPTER: 7


                                                                                      NOTICE OF OBJECTION TO CLAIM

                                                                              DATE: 12/08/2021
                                                                              TIME: 11:00 am
                                                                              COURTROOM: 303
                                                                              PLACE: 21041 Burbank Blvd., Woodland Hills, CA 91367



                                                              Debtor(s).

1. TO (specify claimant and claimant’s counsel, if any): Combat Zone (Attention Iris Sherman, controller)

2. NOTICE IS HEREBY GIVEN that the undersigned has filed an objection to your Proof of Claim (Claim # 86-1            ) filed
   in the above referenced case. The Objection to Claim seeks to alter your rights by disallowing, reducing or modifying the
   claim based upon the grounds set forth in the objection, a copy of which is attached hereto and served herewith.
3. Deadline for Opposition Papers: You must file and serve a response to the Objection to Claim not later than 14
   days prior to the hearing date set forth above.
    IF YOU FAIL TO TIMELY RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE
    RELIEF REQUESTED IN THE OBJECTION WITHOUT FURTHER NOTICE OR HEARING.
Date: 11/08/2021                                                                   Law Offices of Bradley E. Brook, APC
                                                                                   Printed name of law firm

                                                                                   Bradley E. Brook
                                                                                   Signature
Date Notice Mailed: 11/08/2021                                                     Bradley E. Brook
                                                                                   Printed name of attorney for objector

           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                       F 3007-1.1.NOTICE.OBJ.CLAIM
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 1   Bradley E. Brook (CA Bar No. 125323)
     LAW OFFICES OF BRADLEY E. BROOK, APC
 2   10866 Washington Blvd. #108
     Culver City, CA 90232
 3   Tel: 310/839-2004; Fax: 310-945-0022
     E-mail: bbrook@bbrooklaw.com
 4
     Special counsel for David K. Gottlieb, Chapter 7 Trustee
 5

 6                              UNITED STATES BANKRUPTCY COURT

 7        CENTRAL DISTRICT OF CALIFORNIA, SAN FERNANDO VALLEY DIVISION

 8    In re:                                               Case No.: 1:18-BK-10098-MB
                                                           Chapter 7
 9    PENTHOUSE GLOBAL MEDIA, INC.,
                                                           Jointly Administered with Cases Nos.:
10                                  Debtor.                1:18-bk-10099-MB; 1:18-bk-10101-MB;
      _____________________________________                1:18-bk-10102-MB; 1:18-bk-10103-MB;
11         Affects All Debtors                             1:18-bk-10104-MB; 1:18-bk-10105-MB;
           Affects Penthouse Global Broadcasting,          1:18-bk-10106-MB; 1:18-bk-10107-MB;
12    Inc.                                                 1:18-bk-10108-MB; 1:18-bk-10109-MB;
           Affects Penthouse Global Licensing, Inc.        1:18-bk-10110-MB; 1:18-bk-10111-MB;
13         Affects Penthouse Global Digital, Inc.          1:18-bk-10112-MB; 1:18-bk-10113-MB
           Affects Penthouse Global Publishing, Inc.
14         Affects GMI Online Ventures, Ltd.               NOTICE OF MOTION AND MOTION OF
           Affects Penthouse Digital Media                 TRUSTEE FOR ORDER DISALLOWING
15    Productions, Inc.                                    REQUEST FOR PAYMENT OF
           Affects Tan Door Media, Inc.
16         Affects Penthouse Images Acquisitions,          ADMINISTRATIVE CLAIM NO. 86-1
      Ltd.                                                 FILED BY COMBAT ZONE
17         Affects Pure Entertainment                      IN THE SUM OF $12,500.00;
      Telecommunications, Inc.                             MEMORANDUM OF POINTS AND
18         Affects XVHUB Group, Inc.                       AUTHORITIES; DECLARATION OF
           Affects General Media Communications,           DAVID K. GOTTLIEB IN SUPPORT
19    Inc.                                                 THEREOF
           Affects General Media Entertainment, Inc.
20         Affects Danni Ashe, Inc.
           Affects Streamray Studios, Inc.                 Date: December 8, 2021
21                                                         Time: 11:00 am
                                                           Place: Courtroom 303
22                                                                21041 Burbank Blvd.
23                                                                Woodland Hills, CA 91367
                                                           Judge: Hon. Martin R. Barash
24
                                                           Last Day To File A Response: 11/24/2021
25

26
               PLEASE TAKE NOTICE that David K. Gottlieb, solely in his capacity as the duly
27
     appointed, authorized and acting Chapter 7 Trustee (the “Trustee”) of Penthouse Global Media, Inc.
28
                                                       1
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 1   and its debtor affiliates (collectively, the “Debtors”) hereby moves (the “Motion”) the Court for an

 2   order disallowing the Request for Payment of Administrative Claim No. 86-1 filed by Combat Zone

 3   (“Claimant”) in the sum of $12,500.00 (the “Claim”). The Claim attaches four invoices for films or

 4   elements that purport to have been delivered to the Debtors, but the Claimant provides no proof of

 5   delivery as to any of the movies, the (licensing) or other agreement(s) pursuant to which the movies

 6   were provided to Debtors, bills of sale, nor any accounting information. There are several grounds

 7   for the Motion, including: (1) that the sums on account of certain invoices arose prepetition and that

 8   there was no sale of goods involved; (2) all amounts due on an account of an invoice were paid in

 9   full, and (3) the Debtors have no records that a movie allegedly delivered was in fact delivered nor

10   when the delivery was made. The Claim must be disallowed as an administrative expense.

11          PLEASE TAKE FURTHER NOTICE that a hearing to consider the Motion has been

12   scheduled for December 8, 2021 at 11:00 a.m. before the Honorable Martin Barash, United States

13   Bankruptcy Judge, in Courtroom 303, 20141 Burbank Boulevard, Woodland Hills, California 91367.

14   The Court will conduct the hearing remotely, using ZoomGov audio and video technology.

15   Individuals will not be permitted access to the courtroom. The following is the unique ZoomGov

16   connection information for the above-referenced hearing:

17   Video/audio web address: https://cacb.zoomgov.com/j/1617986034

18   ZoomGov meeting number: 161 798 6034

19   Password: 477579

20   Telephone conference lines: 1 (669) 254 5252 or 1 (646) 828 7666

21          PLEASE TAKE FURTHER NOTICE that the Motion has been served upon the claimant

22   listed above and all parties entitled thereto and is based upon the supporting Memorandum of Points

23   and Authorities and Declaration of David K. Gottlieb, the statements, arguments and representations

24   of counsel who appear at the hearing on the Motion, the files and records in the above-captioned

25   cases, any evidence properly before the court prior to or at the hearing regarding the Motion and all

26   matters of which the court may properly take judicial notice.

27          PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(f),

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 1   responses to the Motion must be filed with the Court and served upon the Trustee’s counsel at the

 2   address in the upper left-hand corner of this Motion no later than fourteen (14) days prior to the

 3   hearing date, plus an additional 3 days if you were served by mail, or pursuant to F.R.Civ.P.

 4   5(b)(2)(D) or (F). Responses must contain a written statement of all reasons the Motion is opposed

 5   and must include declarations and copies of all documentary evidence on which the responding party

 6   intends to rely. Responses must be filed either electronically or at the following location:

 7                                       United States Bankruptcy Court
                                              21041 Burbank Blvd.
 8                                        Woodland Hills, CA 91367
 9          PLEASE TAKE FURTHER NOTICE that if a response is not timely filed, the Trustee will

10   request that the relief requested in the Motion be granted without further notice or hearing.

11          PLEASE TAKE FURTHER NOTICE that if a response is timely filed and served upon the

12   Trustee’s counsel, the Court may treat the initial hearing as a status conference if it determines that

13   the Motion involves disputed facts or will require presentation of substantial evidence or argument.

14          WHEREFORE, the Trustee respectfully requests that the Court enter an order (a) granting

15   the Motion; (b) disallowing the Claim as an administrative claim against the Debtors’ estates; and (c)

16   granting the Trustee such other and further relief as may appropriate under the circumstances.

17   Dated: November 8, 2021                LAW OFFICES OF BRADLEY E. BROOK, APC
18
                                       By: Bradley E. Brook __________________________
19                                         Bradley E. Brook, Esq.
                                           Special counsel for David K. Gottlieb, Chapter 7 Trustee
20
     Submitted by:
21
     Linda F. Cantor (CA Bar No. 153762)
22   PACHULSKI STANG ZIEHL & JONES LLP
     10100 Santa Monica Blvd., 13th Floor
23   Los Angeles, CA 90067
     Telephone: 310/277-6910
24   Facsimile: 310/201-0760
     E-mail: lcantor@pszjlaw.com
25
     By: /s/ Linda F. Cantor____________________
26      Linda F. Cantor
        Counsel for David K. Gottlieb, Chapter 7 Trustee
27      of Penthouse Global Media, Inc. and its debtor affiliates
28
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     BACKGROUND.

 3          A.     The Debtors’ Bankruptcy Cases, Jurisdiction and Venue.

 4          On January 11, 2018, the Debtors each filed voluntary petitions for relief under chapter 11 of

 5   the Bankruptcy Code (the “Petition Date”). The Debtors’ Cases are being jointly administered under

 6   lead case number 1:18-bk-10098-MB [Docket No. 17]. On March 2, 2018, the Court entered an

 7   order directing the appointment of a chapter 11 Trustee [Docket No. 231]. On March 6, 2018, the

 8   United States Trustee filed a Notice of Appointment of Chapter 11 Trustee [Docket No. 236]. On

 9   that same day, the Court entered an order approving the appointment of David K. Gottlieb as Trustee

10   [Docket No. 239].

11          On January 31, 2019, the Trustee filed a Notice of Motion and Motion for Order Converting

12   Cases to Chapter 7 [Docket No. 790] (the “Conversion Motion”). The Bankruptcy Court entered its

13   Order converting the Cases to Cases under chapter 7 of the Bankruptcy Code [Docket No. 810] (the

14   “Conversion Order”) on March 12, 2019, and the Office of the United States Trustee appointed

15   David K. Gottlieb as the chapter 7 trustee in the Cases [Docket No. 812].

16          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This is a

17   core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of this matter is appropriate pursuant to

18   28 U.S.C. §§ 1408 and 1409.

19          B.     The Administrative Claims Bar Date And The Claim.

20          On October 22, 2018, the Trustee filed and served the Notice Of Deadline For Filing

21   Requests For Payment Of Chapter 11 Administrative Claims That Arose Between January 11, 2018

22   And June 15, 2018 [Docket No. 714] (the “Administrative Claim Bar Date Notice”), setting

23   November 21, 2018 as the bar date for filing chapter 11 administrative claims (the “Bar Date”).

24          On or about November 21, 2018, the Claimant filed the Claim which was assigned claim

25   number 86-1 by the court clerk requesting payment in the sum of $12,500.00. Attached to the Claim

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 1   are four invoices, but no other information or documentation was provided by the Claimant. A true

 2   and correct copy of the Claim is attached hereto as Exhibit “1”.1

 3   II.     ARGUMENT.

 4           A.       The Claimant Has the Burden to Prove the Validity of its Administrative

 5   Expense Claim.

 6           The allowance of an administrative expense claim is codified in section 503(b) of the

 7   Bankruptcy Code, which states in relevant part:

 8           After notice and a hearing, there shall be allowed administrative expenses . . . including –

 9   (1)(A) the actual, necessary costs and expenses of preserving the estate . . .11 U.S.C. § 503

10   (b)(1)(A). Unlike general unsecured proofs of claims, administrative claims lack presumptive

11   validity. In re Blanchard, 547 B.R. 347, 352 (Bankr.C.D. Cal. 2016). “The burden of proving an

12   administrative expense claim is on the claimant.” Microsoft Corp. v. DAK Indus. (In re DAK

13   Indus.), 66 F.3d, 1091,1094 (9th Cir. 1995); see also Einstein/Noah Bagel Corp. v. Smith (In re BCE

14   West LP), 319 F.3d 1166, 1173 (9th Cir. 2003). “The administrative expense applicant must prove

15   entitlement to the requested reimbursement by a preponderance of the evidence.” Gull Indus. v. John

16   Mitchell, Inc. (In re Hanna), 168 B.R. 386, 388 (9th Cir. BAP 1994).

17           An allowable administrative expense includes “the actual, necessary costs and expenses of

18   preserving the estate, including wages, salaries, or commissions for services rendered after the

19   commencement of the case.” § 503(b)(1)(A). To be deemed an administrative expense, the claim

20   must have arisen from a transaction with the debtor in possession, and directly and substantially

21   benefitted the estate. In re Ybarra (“Ybarra”), 424 F.3d 1018, 1025 (9th Cir. 2005) citing In re

22   Abercrombie, 139 F.3d 755, 757 (9th Cir. 1998) quoting Microsoft Corp. v. DAK Industries, 66 F.3d

23   1091, 1094 (9th Cir. 1995). “The purpose of administrative priority status is to encourage third

24   parties to contract with the bankruptcy estate for the benefit of the estate as a whole. (citations

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     1
27    Claimant has the same address and controller (who signed the Request for Payment) as Smash Pictures which filed a
     Request for Payment that was assigned Administrative Claim No. 85-1 to which a Motion to Disallow that Request for
28   Payment has been concurrently filed.
                                                              5
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 1   omitted).” Ybarra at 1026. “Thus, under the Code, only claims arising from post-petition

 2   transactions may be granted such priority. (citations omitted).” Ybarra at 1025-26.

 3             B.      The Invoices And Trustee’s Position As To Why No Balance Is Owed On Each.

 4   1.        Invoice No. 58729

 5             The first exhibit attached to the Claim is Invoice No. 58729 in the amount of $4500.00 and

 6   the description is for a movie title. This invoice is dated January 24, 2018 with a PO number of 01-

 7   22-17.2

 8             Debtors’ records reveal that Invoice No. 58729 was invoiced to it on November 28, 2017, not

 9   January 24, 2018. No proof of delivery has been provided by the Claimant nor does Claimant

10   describe the terms of the parties’ arrangement for which the movie was provided nor does it provide

11   any documentation related thereto. The date contradiction is critical for two reasons. First, the

12   Debtors’ records establish that the sum due on this particular invoice is a prepetition, general

13   unsecured claim, not a sum due as an administrative expense. Second, the veracity of the Claimant is

14   subject to challenge with respect to the entirety of its Claim.

15             In addition, Debtors’ accounting records on both March 6, 2018 and June 15, 2018 reflect as

16   follows:

17   Date              Number            Name              Memo                                                   Open Bal.

18   11/27/18          58729             Combat Zone PO Box 11-22-17 ILMLS #2 (License)                           $4500.00

19   Based upon this information, it appears that the PO Box (or shipping date was 11-22-17 and that the

20   PO Box date of 01-22-17 was a typo) which was prepetition and that the movie was provided

21   pursuant to a licensing agreement and the title and intellectual property was not sold to the Debtors.

22             No amount which may be due on account of Invoice No. 58729 is entitled to be allowed as

23   an administrative claim.

24

25

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27   2
      The invoice does not have a line item for “delivery date”, but next to the PO number line item is a line item for terms
     for which “COD” is entered. Given the failure of Claimant to provide any additional documentation or information in
28   support of its Claim beyond the invoices, the Trustee understands that the PO number represents a date of shipment.
                                                                 6
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 1   2.     Invoice No. 58928

 2          The second exhibit attached to the Claim is Invoice No. 58928 in the amount of $4500.00

 3   and the description is for a movie title. This invoice is dated January 24, 2018 with a “PO number”

 4   of 01-05-18.

 5          Debtors do not have any record relating to Invoice No. 58928. No proof of delivery has been

 6   provided by the Claimant nor does Claimant describe the terms of the parties’ arrangement for which

 7   the movie was provided nor does it provide any documentation related thereto.

 8          In addition, if the PO number is the shipping date, then the movie was shipped to Debtor

 9   prepetition. However, given that Debtors typically licensed content and clearly did so with Combat

10   Zone in connection with Invoice No. 58729 discussed above, there was no sale of the movie and the

11   intellectual property to Debtors nor would there be any right to an administrative claim under 11

12   U.S.C. § 503(b)(9). The Claimant has not met its burden of proof and no sum allegedly be due on

13   account of Invoice No. 58928 is entitled to be allowed as an administrative expense.

14   3.     Invoice No. 58969

15          The third exhibit attached to the Claim is Invoice No. 58969 in the amount of $4500.00 and

16   the description is for a movie title. This invoice is dated January 24, 2018 with a “PO number” of

17   01-18-18.

18          Debtors’ records reflect that the outstanding sum due as of 03/06/18 on Invoice No. 58969

19   was $2,250.00. On February 16, 2018, Combat Zone was paid $2,250.00 by check no. 1056 (no

20   invoice detail). On March 28, 2018, Combat Zone was paid $2,250.00 by check no. 51064 with

21   Invoice No. 58969 referenced. The accounting records as of June 15, 2018 do not list any amount

22   due on account of Invoice 58969 which indicates that it was paid in full. The Claimant has not met

23   its burden of proof and it appears that Invoice No. 58969 was paid in full. No sum allegedly be due

24   on account of Invoice No. 58969 is entitled to be allowed as an administrative expense.

25   4.     Invoice No. 59052

26          The fourth exhibit attached to the Claim is Invoice No. 59052 in the amount of $3500.00 and

27   the description reflects five different titles with each also concluding the description with the word

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 1   (License) at $700.00 per license. This invoice is dated January 24, 2018 with a “PO number” of

 2   “Jan. 5 BM.”

 3          No proof of delivery has been provided by the Claimant nor does Claimant describe the

 4   terms of the parties’ arrangement for which the movie was provided nor does it provide any

 5   documentation related thereto.

 6          In addition, if the PO number is the shipping date, then the movies was shipped to Debtor

 7   prepetition. However, given that Debtors typically licensed content and the references for each

 8   specifically refer to a “license”, there was no sale of the movie and the intellectual property to

 9   Debtors nor would there be any right to an administrative claim under 11 U.S.C. § 503(b)(9). The

10   Claimant has not met its burden of proof and no sum allegedly be due on account of Invoice No.

11   59052 is entitled to be allowed as an administrative expense.

12          Accordingly, the Claim must be disallowed in its entirety as an administrative expense.

13   III.   RESERVATION OF RIGHTS.

14          The Trustee has not attempted to raise in this Motion each defense, counterclaim, or setoff

15   that may apply to the Claim. If a response to this Motion is received, the Trustee reserves the right

16   to amend or supplement it, or file additional pleadings to assert any defenses, counterclaims, and/or

17   setoffs against the Claim. In all instances, the Trustee reserves the right to file future pleadings to

18   challenge the validity, amount, or status of the Claim upon different grounds than set forth herein or

19   otherwise.

20   //

21   //

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 1   IV.    CONCLUSION.

 2          For the reasons set forth herein, the Trustee respectfully requests that the Court enter an

 3   order: (a) granting the Motion; (b) disallowing the Claim as an administrative expense; and (c)

 4   granting such other and further relief as may be appropriate under the circumstances.

 5
     Dated: November 8, 2021                      LAW OFFICES OF BRADLEY E. BROOK, APC
 6

 7                                            By: Bradley E. Brook __________________________
                                                  Bradley E. Brook, Esq.
 8                                                Special counsel for David K. Gottlieb, Chapter 7
                                                  Trustee of Penthouse Global Media, Inc. and its
 9                                                affiliated debtor entities
10
     Submitted by:
11
     Linda F. Cantor (CA Bar No. 153762)
12   PACHULSKI STANG ZIEHL & JONES LLP
     10100 Santa Monica Blvd., 13th Floor
13   Los Angeles, CA 90067
     Telephone: 310/277-6910
14   Facsimile: 310/201-0760
     E-mail: lcantor@pszjlaw.com
15

16   By: /s/ Linda F. Cantor____________________
        Linda F. Cantor
17      Counsel for David K. Gottlieb, Chapter 7 Trustee
18      of Penthouse Global Media, Inc. and its debtor affiliates

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 1                                       DECLARATION OF DAVID K. GOTTLIEB
 2
               I, David K. Gottlieb, declare as follows:
 3
               1.      I am the duly appointed chapter 7 trustee (the “Trustee”) of Penthouse Global Media,
 4
     Inc. and its debtor subsidiaries. I make this Declaration in support of the Motion Of Trustee For
 5
     Order Disallowing Request For Payment Of Administrative Claim No. 86-1 Filed By Combat Zone
 6
     In The Sum Of $12,500.00 (the “Motion”). All capitalized terms used but not defined in this
 7
     Declaration have the meanings ascribed to them in the Motion.
 8
               2.      Except as otherwise stated, all facts contained within this Declaration are based upon
 9
     personal knowledge (albeit my own or that gathered from others under my supervision), my review
10
     of the books and records of the Debtors, the Administrative Claims and other pleadings filed in this
11
     case, or my opinion based on my experience as a consultant and financial advisor for trustees. If
12
     called upon to testify, I would testify to the facts set forth in this Declaration.
13
               3.      Attached hereto as Exhibit “1” is a true and correct copy of Claim Number 86-1. The
14
     Claim attaches four invoices, but the Claimant provides no proof of delivery, no licensing or other
15
     agreements with the Debtors pursuant to which the movies were provided, nor any accounting.
16
               4.      I have reviewed the Claim with persons under my supervision. Based on information
17
     I have obtained, here is the analysis as it relates to each of the four invoices:
18
     1.        Invoice No. 58729
19
               The first exhibit attached to the Claim is Invoice No. 58729 in the amount of $4500.00 and
20
     the description is for a movie title. This invoice is dated January 24, 2018 with a PO number of 01-
21
     22-17.3
22
               Debtors’ records reveal that Invoice No. 58729 was invoiced to it on November 28, 2017, not
23
     January 24, 2018. No proof of delivery has been provided by the Claimant nor does Claimant
24
     describe the terms of the parties’ arrangement for which the movie was provided nor does it provide
25
     any documentation related thereto. The date contradiction is critical for two reasons. First, the
26

27   3
      The invoice does not have a line item for “delivery date”, but next to the PO number line item is a line item for terms
     for which “COD” is entered. Given the failure of Claimant to provide any additional documentation or information in
28   support of its Claim beyond the invoices, the Trustee understands that the PO number represents a date of shipment.
                                                                 10
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 1   Debtors’ records establish that the sum due on this particular invoice is a prepetition, general

 2   unsecured claim, not a sum due as an administrative expense.

 3          In addition, Debtors’ accounting records on both March 6, 2018 and June 15, 2018 reflect as

 4   follows:

 5   Date           Number          Name           Memo                                           Open Bal.

 6   11/27/18       58729           Combat Zone PO Box 11-22-17 ILMLS #2 (License)                $4500.00

 7   Based upon this information, it appears that the PO Box (or shipping date was 11-22-17 and that the

 8   PO Box date of 01-22-17 was a typo) which was prepetition and that the movie was provided

 9   pursuant to a licensing agreement and the title and intellectual property was not sold to the Debtors.

10          No amount which may be due on account of Invoice No. 58729 is entitled to be allowed as

11   an administrative claim.

12   2.     Invoice No. 58928

13          The second exhibit attached to the Claim is Invoice No. 58928 in the amount of $4500.00

14   and the description is for a movie title. This invoice is dated January 24, 2018 with a “PO number”

15   of 01-05-18.

16          Debtors do not have any record relating to Invoice No. 58928. No proof of delivery has been

17   provided by the Claimant nor does Claimant describe the terms of the parties’ arrangement for which

18   the movie was provided nor does it provide any documentation related thereto.

19          In addition, if the PO number is the shipping date, then the movie was shipped to Debtor

20   prepetition. However, given that Debtors typically licensed content and clearly did so with Combat

21   Zone in connection with Invoice No. 58729 discussed above, there was no sale of the movie and the

22   intellectual property to Debtors nor would there be any right to an administrative claim under 11

23   U.S.C. § 503(b)(9). The Claimant has not met its burden of proof and no sum allegedly be due on

24   account of Invoice No. 58928 is entitled to be allowed as an administrative expense.

25   //

26   //

27   //

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                                                        11
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 1   3.     Invoice No. 58969

 2          The third exhibit attached to the Claim is Invoice No. 58969 in the amount of $4500.00 and

 3   the description is for a movie title. This invoice is dated January 24, 2018 with a “PO number” of

 4   01-18-18.

 5          Debtors’ records reflect that the outstanding sum due as of 03/06/18 on Invoice No. 58969

 6   was $2,250.00. On February 16, 2018, Combat Zone was paid $2,250.00 by check no. 1056 (no

 7   invoice detail). On March 28, 2018, Combat Zone was paid $2,250.00 by check no. 51064 with

 8   Invoice No. 58969 referenced. The accounting records as of June 15, 2018 do not list any amount

 9   due on account of Invoice 58969 which indicates that it was paid in full. The Claimant has not met

10   its burden of proof and it appears that Invoice No. 58969 was paid in full. No sum allegedly be due

11   on account of Invoice No. 58969 is entitled to be allowed as an administrative expense.

12   4.     Invoice No. 59052

13          The fourth exhibit attached to the Claim is Invoice No. 59052 in the amount of $3500.00 and

14   the description reflects five different titles with each also concluding the description with the word

15   (License) at $700.00 per license. This invoice is dated January 24, 2018 with a “PO number” of

16   “Jan. 5 BM.”

17          No proof of delivery has been provided by the Claimant nor does Claimant describe the

18   terms of the parties’ arrangement for which the movie was provided nor does it provide any

19   documentation related thereto.

20          In addition, if the PO number is the shipping date, then the movies was shipped to Debtor

21   prepetition. However, given that Debtors typically licensed content and the references for each

22   specifically refer to a “license”, there was no sale of the movie and the intellectual property to

23   Debtors nor would there be any right to an administrative claim under 11 U.S.C. § 503(b)(9). The

24   Claimant has not met its burden of proof and no sum allegedly be due on account of Invoice No.

25   59052 is entitled to be allowed as an administrative expense.

26          5.      As such, I respectfully request the entry of an order granting the Motion and

27   disallowing the Claim as an administrative expense against the Debtors’ estates. Should the Claimant

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 8                               EXHIBIT “1”
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                                                                   1                              PROOF OF SERVICE OF DOCUMENT
                                                                   2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                       address is:
                                                                   3
                                                                                       10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067
                                                                   4
                                                                       A true and correct copy of the foregoing document entitled NOTICE OF OBJECTION TO CLAIM
                                                                   5   will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
                                                                       and (b) in the manner stated below:
                                                                   6
                                                                       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
                                                                   7   General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
                                                                       document. On November 8, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary
                                                                   8   proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
                                                                       transmission at the email addresses stated below:
                                                                   9
                                                                                                                                 Service information continued on attached page
                                                                  10
                                                                       2. SERVED BY UNITED STATES MAIL: On November 8, 2021, I served the following persons and/or
                                                                  11   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
                                                                       correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
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                                                                  12   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
                                                                       completed no later than 24 hours after the document is filed.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       Combat Zone
                                                                  14   Attention: Iris Sherman (controller)
                                                                       9619 Canoga Ave.
                                                                  15   Chatsworth, CA 91311
                                                                  16                                                             Service information continued on attached page

                                                                  17   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
                                                                       (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
                                                                  18   November 8, 2021, I served the following persons and/or entities by personal delivery, overnight mail service,
                                                                       or (for those who consented in writing to such service method), by facsimile transmission and/or email as
                                                                  19   follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
                                                                       judge will be completed no later than 24 hours after the document is filed.
                                                                  20
                                                                        Via Federal Express
                                                                  21    Honorable Martin R. Barash
                                                                        United States Bankruptcy Court
                                                                  22    Central District of California
                                                                        21041 Burbank Boulevard, Suite 342 / Courtroom 303
                                                                  23    Woodland Hills, CA 91367
                                                                  24                                                             Service information continued on attached page

                                                                  25   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

                                                                  26    November 8, 2021                         Janice G. Washington          /s/ Janice G. Washington
                                                                        Date                              Printed Name                         Signature
                                                                  27

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                                                                   1    1. 1:18-bk-10098-MB Notice will be electronically mailed to:
                                                                   2    Ron Bender on behalf of Interested Party Courtesy   bdavidoff@greenbergglusker.com,
                                                                        NEF                                                 calendar@greenbergglusker.com;jking@greenberg
                                                                   3    rb@lnbyb.com                                        glusker.com
                                                                   4    Stephen F Biegenzahn on behalf of Creditor Eli B.   James A Dumas, Jr on behalf of Creditor NOA
                                                                        Dubrow                                              Productions SPRL
                                                                   5    efile@sfblaw.com                                    jdumas@dumas-law.com,
                                                                                                                            jdumas@ecf.inforuptcy.com
                                                                   6    Paul M Brent on behalf of Interested Party WGCZ
                                                                        Ltd., S.R.O.                                        James A Dumas, Jr on behalf of Creditor
                                                                   7    snb300@aol.com                                      Penthouse Global Broadcasting, Inc.
                                                                                                                            jdumas@dumas-law.com,
                                                                   8    Bradley E Brook on behalf of Plaintiff DAVID K      jdumas@ecf.inforuptcy.com
                                                                        GOTTLIEB
                                                                   9    bbrook@bbrooklaw.com,                               Jeffrey K Garfinkle on behalf of Creditor Easy
                                                                        paulo@bbrooklaw.com;brookecfmail@gmail.com          Online Solutions, Ltd. d/b/a MojoHost
                                                                  10                                                        jgarfinkle@buchalter.com,
                                                                        Bradley E Brook on behalf of Plaintiff DAVID K      docket@buchalter.com;dcyrankowski@buchalter.c
                                                                  11    GOTTLIEB                                            om
                                                                        bbrook@bbrooklaw.com,
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                                                                  12    paulo@bbrooklaw.com;brookecfmail@gmail.com          Allan B Gelbard on behalf of Other Professional
                                                                                                                            Allan B. Gelbard
                                        LOS ANGELES, CALIFORNIA




                                                                        Bradley E Brook on behalf of Trustee David Keith    xxxesq@aol.com, Allan@GelbardLaw.com
                                                                  13
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                                                                        Gottlieb (TR)
                                                                        bbrook@bbrooklaw.com,                               David Keith Gottlieb (TR)
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                                                                                                                            dgottlieb@iq7technology.com,rjohnson@dkgallc.c
                                                                  15    Linda F Cantor, ESQ on behalf of Debtor             om,akuras@dkgallc.com;ecf.alert+Gottlieb@titlexi
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                                                                  16    lcantor@pszjlaw.com, lcantor@pszjlaw.com
                                                                                                                            Mirco J Haag on behalf of Creditor Easy Online
                                                                  17    Linda F Cantor, ESQ on behalf of Trustee David      Solutions, Ltd. d/b/a MojoHost
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                                                                                                                            om
                                                                  19    Carol Chow on behalf of Interested Party Jerrick
                                                                        Media Holdings, Inc.                                Mark S Horoupian on behalf of Interested Party
                                                                  20    carol.chow@ffslaw.com,                              Courtesy NEF
                                                                        easter.santamaria@ffslaw.com                        mhoroupian@sulmeyerlaw.com,
                                                                  21                                                        mhoroupian@ecf.inforuptcy.com;ccaldwell@sulm
                                                                        Carol Chow on behalf of Interested Party Jerrick    eyerlaw.com
                                                                  22    Ventures LLC
                                                                        carol.chow@ffslaw.com,                              Mark S Horoupian on behalf of Interested Party
                                                                  23    easter.santamaria@ffslaw.com                        WSM Investment, LLC dba TOPCO Sales
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                                                                  24    Russell Clementson on behalf of U.S. Trustee        mhoroupian@ecf.inforuptcy.com;ccaldwell@sulm
                                                                        United States Trustee (SV)                          eyerlaw.com
                                                                        russell.clementson@usdoj.gov
                                                                  25                                                        Razmig Izakelian on behalf of Interested Party
                                                                        Joseph Corrigan on behalf of Creditor Iron          WGCZ Ltd., S.R.O.
                                                                  26    Mountain Information Management, LLC                razmigizakelian@quinnemanuel.com
                                                                        Bankruptcy2@ironmountain.com
                                                                  27                                                        John P Kreis on behalf of Creditor Claxson Media
                                                                        Brian L Davidoff on behalf of Interested Party      LLC
                                                                  28    Silver Reel Entertainment Mezzanine Fund, L.P.      jkreis@kreislaw.com, j.kreis@ca.rr.com
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                                                                   1                                                        stjames.michaelr101488@notify.bestcase.com
                                                                        Michael D Kwasigroch on behalf of Defendant
                                                                   2    Revideo, Inc.
                                                                        attorneyforlife@aol.com
                                                                   3                                                        Michael St James on behalf of Interested Party
                                                                        Michael D Kwasigroch on behalf of Defendant         Michael St. James
                                                                   4    Kelly Holland                                       ecf@stjames-law.com,
                                                                        attorneyforlife@aol.com                             stjames.michaelr101488@notify.bestcase.com
                                                                   5
                                                                        Michael D Kwasigroch on behalf of Defendant         Howard Steinberg on behalf of Creditor Greenberg
                                                                        Robert Campbell                                     Traurig, LLP
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                                                                   7    Andrew B Levin on behalf of Interested Party
                                                                        Kirkendoll Management LLC                           Cathy Ta on behalf of Creditor Penthouse Clubs
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                                                                        Meir@virtualparalegalservices.com;pj@wcghlaw.c      cathyta@cathyta.net
                                                                   9    om;jmartinez@wcghlaw.com
                                                                                                                            United States Trustee (SV)
                                                                  10    Peter W Lianides on behalf of Interested Party      ustpregion16.wh.ecf@usdoj.gov
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                                                                  11    plianides@wghlawyers.com,                           Michael H Weiss mhw@mhw-pc.com,
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                                                                  12    yers.com                                            Michael H Weiss on behalf of Debtor Danni Ashe,
                                                                                                                            Inc.
                                        LOS ANGELES, CALIFORNIA




                                                                  13    David W. Meadows on behalf of Interested Party      mhw@mhw-pc.com
                                           ATTORNEYS AT LAW




                                                                        Courtesy NEF
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                                                                                                                            Ventures, Ltd.
                                                                  15    Krikor J Meshefejian on behalf of Creditor          mhw@mhw-pc.com
                                                                        Interested Party
                                                                  16    kjm@lnbyb.com                                       Michael H Weiss on behalf of Debtor General
                                                                                                                            Media Communications, Inc.
                                                                        Alan I Nahmias on behalf of Interested Party        mhw@mhw-pc.com
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                                                                  19    Iain A W Nasatir on behalf of Interested Party
                                                                        Courtesy NEF                                        Michael H Weiss on behalf of Debtor Penthouse
                                                                  20    inasatir@pszjlaw.com, jwashington@pszjlaw.com       Digital Media Productions, Inc.
                                                                                                                            mhw@mhw-pc.com
                                                                  21    Iain A W Nasatir on behalf of Trustee David Keith
                                                                        Gottlieb (TR)                                       Michael H Weiss on behalf of Debtor Penthouse
                                                                  22    inasatir@pszjlaw.com, jwashington@pszjlaw.com       Global Broadcasting, Inc.
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                                                                  23    Hamid R Rafatjoo on behalf of Creditor Committee
                                                                        The Official Committee of Unsecured Creditors       Michael H Weiss on behalf of Debtor Penthouse
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                                                                        States Trustee (SV)                                 Michael H Weiss on behalf of Debtor Penthouse
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                                                                        Kate.Bunker@UST.DOJ.GOV                             mhw@mhw-pc.com
                                                                  27
                                                                        Michael St James on behalf of Creditor Interested   Michael H Weiss on behalf of Debtor Penthouse
                                                                        Party                                               Global Media, Inc.
                                                                  28
                                                                        ecf@stjames-law.com,                                mhw@mhw-pc.com
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                                                                   1                                                         Michael H Weiss on behalf of Debtor XVHUB
                                                                            Michael H Weiss on behalf of Debtor Penthouse    Group, Inc.
                                                                   2        Global Publishing, Inc.                          mhw@mhw-pc.com
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                                                                   5
                                                                            Michael H Weiss on behalf of Debtor Pure         Christopher K.S. Wong on behalf of Creditor LSC
                                                                            Entertainment Telecommunications, Inc. fka For   Communications US, LLC / Creel Printing
                                                                   6        Your Ears Only, Ltd.                             christopher.wong@arentfox.com,
                                                                            mhw@mhw-pc.com                                   yvonne.li@arentfox.com
                                                                   7
                                                                            Michael H Weiss on behalf of Debtor Streamray    Beth Ann R Young on behalf of Creditor Dream
                                                                   8        Studios, Inc.                                    Media Corporation
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                                                                   9
                                                                            Michael H Weiss on behalf of Debtor Tan Door     Beth Ann R Young on behalf of Creditor Interested
                                                                  10        Media, Inc.                                      Party
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                                                                  11
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                                                                       2.   SERVED BY UNITED STATES MAIL:
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                                                                  13        Debtor
                                           ATTORNEYS AT LAW




                                                                            Penthouse Global Media, Inc.
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                                                                            Chatsworth, CA 91311
                                                                  15
                                                                            Counsel for Debtor
                                                                  16        Michael H. Weiss, Esq., P.C.
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                                                                  18
                                                                            Trustee
                                                                  19        David K. Gottlieb
                                                                            Managing Member
                                                                  20        D. Gottlieb & Associates, LLC
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                                                                            Encino, California, 91436
                                                                  22
                                                                            Office of U.S. Trustee
                                                                  23        Kate Bunker
                                                                            915 Wilshire Blvd.
                                                                  24
                                                                            Suite 1850
                                                                  25        Los Angeles, CA 90017

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